Case 1:20-cr-00007-JPJ-PMS Document 13 Filed 02/14/20 Page 1 of OFFI
                                                       CLERK8   9 Pageid#:  21 GT COURT
                                                                   CE U.S.DISTRI
                                                                 ATABINGDON.VA
                                                                     FILED

                                                                                          FE8 1i 2929
                                   UM TED STATES DISTRICT COURT
                                   W ESTER N DISTW CT O F V IR G G G                   JULI
                                                                                          Aq i 7Ey
                                                                                             ,           x
                                              M IN G D O N                             e :   '
                                                                                                  CL R
UNITED jTATES OF AM ERICA                                      )
                                                               ) Crim'nalxo.tta/-c<- ###p4-
                                                                       '


                                                               )
                                                               )
AN IM A L H EA LTH INT ERN AT IO N A L,INC .                   )
                                               PLEA A G R EEM EN T

      ANIM AL HEALTH INTERNATIONAL,INC.(ElN:XX-XXXXXXX)CGAHI'')hasentered
intoaPleaApeementwiththeUnitedStatesofAmedca,bycounsel,pursuanttoRule11(c)(1)(C)
oftheFederalRulesofCriminalProcedure(<EFed.R.Crim .P.'').Thetermsandconditionsofthis
Plea A p eem entare as follow s:

1.       C H AR GE T O W H IC H A H I IS PLEA D IN G G UILTY A N D W A W ER O F
         R IG H TS

         Al11willenterapleaofguilty to CotmtOne ofthe Infonnation charging itwith violating
Title21,UzlitedStatesCode,Sections331(a),333(a)(1),and3524941)intheW estem Districtof
Virginiabyintroducing and delivering forintroduction,and causing theintroduction anddelivery
forintroduction,into interstatecomm erceofveterinaryprescription dnzgsthatw eremisbranded.
       AH1understands,and thepartiesapyeand stipulate,them axim zzm statm ory penalty isa
fine of$14,855,856 (fourteen million eighthundred fifty-fvethousand eighthundred fiAy-six
dollars),pursuantto Title18,UnitedStatesCode,Section 3571(d),and apedod ofprobation of
5ve (5)years,pursuantto Title 18,Urlited StatesCode,Section 3561(c)(2).In addition!Alll's
assetsare subjectto forfeiture.AH1understandsfeesmay beimposed topay forprobatlon and
therewillbea$125(onehundredtwenty-fvedollars)specialassessmentforCountOne,pursuant
toTitle 18,Urlited StatesCode,Section 3013(a)(1)(B)(iii).AH1'sattomeyshaveinformeditof
thenature ofthe charge and theelementsofthe charge thatmustbeproved by theUnited States
beyond areasonabledoubtbeforeAHIcouldbefound guilty ascharged.
       AH1admitsand ap eesthata11ofthestatem entsand allegationsin theInform ation aretrue
and correct.
       Al1IacknowledgesAHIhashad a11ofitsdghtsexplained to it.AH1expresslyrecor izes
that, as a corporation,AH1 m ay haye the following constitutionalrights and by voluntarily
pleadingguiltyAH1knowinglywaivesandSvesupthesevaluableconstitutionalrights:
         Thedghttopleadnotguilty andpersistinthatplea.
         '
         rherightto aspeedyandpublicjurytrial.
         Therightto assistanceofcounselatthattrialand in any subsequentappeal.
         Therighttoremain silentattrial.
         '
         rhe rightto testify attrial.
         The rightto confrontand cross-exnm ine w itnesses.
         The rightto presentevidence and witnesses. '
PleaAgreement
UnitedStatesv.AnimalHealthInternational,Inc.                   AuthorizedCorporateOs cer'sInitials:
                                                    Page1of9
Case 1:20-cr-00007-JPJ-PMS Document 13 Filed 02/14/20 Page 2 of 9 Pageid#: 22



         Therightto com pulsory processofthe court.
         Therightto com peltheattendanceofwitnessesattrial.
         Therightto bepresum ed irmocent.
         '
         Fherightto aunanim ousguilty verdict.
         '
         rherightto yppealaguilty verdict.
         AHIisyleadingguiltyasdescribedabovebecauseAHIisinfactguiltyandbecauseA1II
believesitisin 1tsbestinterestto do so andnotbecauseofany threatsorprom ises,otherthan the
term softhisPleaAgreement,described herein,in exchangeforitsplea ofguilty.AHIav eesal1
ofthe m atters setforth in the Inform ation are tnze and correct.
         AI-IIunderstandsthepleaisbeingenteredinaccordancewithFed.R.Crim.P.11(c)(1)(C).
2.       SEN TEN C G G PRO W SIO N S

         Thepartiesam eethe2018'
                               version ofthçUnited StatesSentencing Com mission Guidelines
M anual(:1U.S.S.G.'')istheappropdate GuidelinesM anualto utilize.According to U.S.S.G.j
8C2.1,theorganizationalfneprovisionsdonotapplytothecountofconviction in thiscase,which
isamisdemeanorunder21U.S.C.j333(a)(1).
         '
         I'he partiesagree and stipulate:
                   a.       thefineshallbe$5,000,000(fivemilliondollarsl;
                   b.       AllIshallpay$1,000,000(onemilliondollars)totheVirginiaDepartment
                            ofHea1th Professions(&&DHP'')inrecognitionofdirectassistanceprovided
                            byDHP to the United Statesduring theinvestigation;
                   c.       AHIshallforfeit$46,802,203(forty-sixmillioneighthundredtwothousand
                            twohundredtllreedollarsl;and
                   d. AI'IIshallserveaterm ofprobation ofoneto threeyears,asdeterm ined by
                      the Court.
        '
        FheCourtwilldeterm inewhatterm sandlengthofprobation areappropriateandtheparties
willbe free to argue forwllich term sand length ofprobation they believe are appropdate.AHI
understandsand agreesifitsprobation isrevoked,itm ay beresentenced and atotalaggregate fine
up to thestatutory maximum m ay beim posed.
       ''
        I'hepartiesagreeiftheCourtrefusesto acceptthisPlea Apeem entwith the agreed-upon
sentence,AHlwillbefreeto withdraw itsguilty plea.In theeventtheCourtrefusesto acceptthis
PleaAp eem entand AI-lIwithdrawjitsguiltypleawithin ten daysofbeingnotifed oftheCourt's
refusal,nothingin thisPleaAv eementshallbedeem ed awaiveroftheprovisionsofFederalRule
ofEvidence(ç1Fed.R.Evid.'')410.Underthesécircumstances,theUnited Stateswillmoveto
dismisstheInformationwithoutprejudiceandtheUnitedStatesmay5leanychargesitcouldhave
fledintheabsenceofthepleaav eem ent.AHI'ap eesto tollthestatuteoflim itationsbetween the
dateofthepleaandthesling ofany such charges.

3.       FW A NC IA L O BLIGA TIO N S

       Al11apeesandunderstandsany oftiemoneypaidpursuantto thisPleaAmeementwill
beretumedifiandonlyifltheCourtrefusestoacceptthisPleaAmeementwiththeaveed-upon
sentenceand,asaresult,AHIwithdrawsitsggiltyplea.IftheCourtrejectstllisPleaAgreement
and Al1lwithdrawsitsguilty plea,the United Stateswillreturn a11money paid by AHI,without

PleaAgreement
UnitedStatesv.AnimalHeaIthInternational,Inc.                AuthorizedCovporateOp cer'sJ'
                                                                                        zlzffll
                                               Page2 of9
Case 1:20-cr-00007-JPJ-PMS Document 13 Filed 02/14/20 Page 3 of 9 Pageid#: 23




interest,notmorethantllirty(30)dàysafterAH1withdrawsitsguiltypleaandnotisestheUnited
StatesAttom ey'sOfficefortheW estem DistrictofVirginia (ççUSAO''),in writing,itwishesto
havethemoneyretum ed.
          In addition,in accordancewith 18U.S.C.j3572(d)(3),AH1willnotifytheCourtofany
matedalchange in Alll's economic circumstmwes thatm ight affect AHI's ability to pay any
nmountspayableunderthisPleaAgreem ent.
                   a.       Paym ents

       W ithin 7 days of the entry of Al-ll's gtlilty plea, AHI will make the following
disbm sements:

                            (1)       $125 (one hundred twenty-sve dollars)to the Clerk,U.S.
                            District Court, Abingdon, Virginia, as paym ent of the special
                            assessm ent.

                            (2)       $5,000,000(fivemilliondollars)totheClerk,U.S.District
                            Court,Abingdon,Virgirlia,aspaym entofthefine;

                            (3)       $1,000,000(onemilliondollars)totheVirginiaDepartment
                            ofHealth Professions.These fundsmustberem itted in theform of
                            certised ftmds m ade payable to the ltrreasurer ofVirginia.''The
                            comm entsection ofthe check should note ir llp-Enforcem ent''in
                            recognition ofdirectassistanceprovided to theUnited Statesdudng
                            the hw estigation;and

                            (4) $46,802,203 (forty-six million eighthundredtwo thousand
                            two hundred tllree dollars) made payable to the United States
                            M arshals Service, as directed by the USAO as pam ent of a
                            forfeituremoneyjudr ent.
                   b.       Forfeiture

        AH1agreesto the entry ofa forfeituremoney judpnentin the amountof$46,802,203
(forty-sixmillioneighthundredtwothousandtwohundredthreedollars)inUnitedStatesçurrency
('TorfeitureM oneyJudgmenf')pursuantto21U.S.C.jj334and853û9,and28U.S.C.j2461(c).
AI-
  II agrees thatthe value of the quantities of prescription drugs which w ere m isbranded in
violation of21U.S.C.j331(a)totaled atleast$46,802,203 (forty-six million eighthtmdred two
thotlsandtwohtmdredthreedollars)inUlzitedStatesc= ency.
          AHI acknowledges and agrees the quantities of the drugs which were misbranded in
violation of21U.S.C.j331(a)cnnnotbe located upon exerciseofdue diligence,orhavebeen
transferredorsoldto,ordepositedwith,athirdparty,placedbeyondthejudsdictionoftheCourt,
subjtantially dim ii shed in value,or comm ingled with otherproperty wllich cnnnotbe divided
withoutdifsculty.Accordingly,A1IIagreesthegovernm entisentitledtoforfeitassubstituteassets
any otherassetsofAl.   Ilup to thevalueofthenow missing directly forlkitableassets,pursuantto

Pleaalgrcczncnr
UnitedStatesv.AnimalHeaIthInternational,Inc.                 AuthorizedCorporateON eer',
                                                                                       çInitial
                                                  Page3of9
Case 1:20-cr-00007-JPJ-PMS Document 13 Filed 02/14/20 Page 4 of 9 Pageid#: 24




21U.S.C.j 853419.Pam entin fulloftheForfeitureMoneyJudr entshallsatisfy any and a11
forfeimreobligationsthatM '  1Im ay haveasaresultoftllisguilty plea.AHlconsentsto the entry
of an Order of Forfeiture pursuant to Rule 32.2 of the FederalRules of Crim inal Procedure
forfeiting the above-referencedForfeimreM oney Judn ent.
        AH1ap eesto siplany documentation necessary and to cooperate fully with the United
Statesto accom plish the forfeimre.Al1I ap eesto forfeita11interestin these ftmds and to take
whateverstepsardnecessary to passcleartitleofthèseftm dstotheUnited States. .
        A H Iagreesnotto file a claim in any forfeitureproceeding orto contest,in any m nnner,the
forfeitureofsaid assets.AH1am eesnotto file orintem ose any claim orto assistothersto file or
interpose any claim to any property againstwhich thegovernm entseeksto executetheForfeiture
M oneyJudgementinanyadministrativeorjudicialproceeding.
       AHIunderstandsand agreesforfeiture ofthisproperty isproportionateto the degreeand
namre ofthe offense.AHlâeely and knowingly waives any and a11constimtionaland statutory
challengesto any forfeiture cnnied outin accordancewith tllisPleaAgrçementon any F ounds,
including,butnot lim ited to,thatthe forfeiture constitutes an excessive 5ne orpunishm ent.A HI
furtherunderstandsand agreesthisforfeim reisseparate and distinctfrom ,andisnotin thenature
of,orin lieu of,anymonetarypenalty orothermonetaryjudr entthatmaybeimposed by the
court.

                   C.       R estitution

         Thepartiesameeandstipulate,pursuantto18U.S.C.j3663(a)(1)(B)(ii),thatnorestimtion
willbe ordered.

4.       A D DITIO NA L O BLIG ATIO N S

         U nlegstheCourtrejectsthisPleaApeementand,asaresult,AHIwithdrawsitsplea,AHI
                   .

ameesto:(1)acceptresponsibilityforitsconduct;(2)notattempttowithdraw itsguiltyplea;(3)
notdenyitcommittedthecrimetowhichithaspledguilty;(4)complywith anyreasonablerequest
oftheUnited StatesAttonwy'sOffceand (5)notmakeoradoptany argumentsorobjectionsto
the presentence investigation reportthatare inconsistentw ith tllisPlea A v eem ent.
      NeitherAHI,noritscorporateparent(Patterson Compnnies,lnc.Eçtpatterson''j),will(1)
m akeany publicstafementor(2)makeany statementortakeanyposition in litigation in which
any United States departmentoragency isa party,contradicting any state entorprovision set
forth in thePleaAr eem entoritsattachm ents.IfPatterson orAH1m akesapublicstatem entthat
in wholeorin partconkadictsany such statem entorprovision,Al1Im ay avoidbeing in violation
ofthisPleaAp eem entby promptly publicly repudiating such statement.Forthepurposesofthis
parav aph,the term tGpublic statem ent''m eansany statem entm ade orauthorized by Patterson's
and Alll's directors, offcers, employees, or attom eys and includes,but is not limited to,a
statementin (1)apressrelease,(2)publicrelationsmatedal,or(3)Patterson orAHIwebsites.
N otwithstanding the above, Patterson and A 111 m ay avail them selves of any legal or factual
argumentsavailable(1)indefendinglitigationbroughtby apartyotherthantheUnited Statesor
(2)in any inquiry,complaint,noticeofviolation,investigation orproceedingbroughtby astate
entity orby the United States Conp ess.rrhis param aph doesnotapply to any statem entm ade by


PleaAgreement
UnitedStatesv.AnimalHealthInternational,Inc.               Authori
                                                                 zedCor
                                                                      porat
                                                                          eOmcer'
                                                                                sInlt
                                                                                    lals. .
                                                                                          /
                                               Page4 of9
Case 1:20-cr-00007-JPJ-PMS Document 13 Filed 02/14/20 Page 5 of 9 Pageid#: 25



anyindividu'alin the courseofany actualorcontemplated cdminal,regulatory,adm ii strative,or
civilcaseinitiatedby any governm entalorprivateparty againstsuch individual.

5.       W AIVER OF W GH T TO APPEAL AND COLLATERALA Y ATTA CK TH E
         'UD G M EN T AN D SEN T EN C E EW PO SED BY TH E C O UR T

       Ifthe CourtacceptsthisPleaAv eement,A1IIagreesAHIwillnotappealthe conviction
or sentence imposed.AHI is knowingly and voltmtadly w aiving any right to appeal and is
voluntarilywillingtorel# on theCourtinsentencingit,pursuanttothetermsofFed.k.Crim.P.
11(c)(1)(C).AH1exprejsly waivesitsrightto appealasto any and a11issuesin thismatterand
waivesany rightitm ay have to collaterally attack,in any futureproceeding,any orderissued in
tllism atter,unlesssuch appealorcollateralattack cnnnotbewaived,by law .Al1lunderstandsthe
United Statesexpresslyreservesa1lofitsrightsto appeal,butiftheUnited Statesirlitiatesadirect
appealofthe sentence im posed,AH1m ay file a crossappealofthatsnm e sentence.AH1agrees
andunderstandsifitGlesany courtdocument(exceptforanappealorcollateralattack based on
an issuethatcnnnotbewaived,bylaw)seekingto disturb,in anyway,anyorderimposedinthe
casesuch actionshallconstimteafailuretocomplfwith aprovisionofthisPleaAp eement.
6.       IN FO R M ATIO N A CC ESS W A M        R

        AH1ar eesto waivea11dghts,whetherasseded directly orby arepresentative,to request
or receive âom any departm entor agency ofthe Urlited States any records pertairling to the
investigation orprosecution ofthis case,including,withoutlim itation,any recordsthatm ay be
soughtundertheFreedom ofInformationAct,5U.S.C.j552,orthePrivacyActof1974,5U.S.C.
j552a.However,ifatllirdpartyobtainsanyrecordspertainingtotheinvestigationorprosecution
oftlliscaseunderthe Freedom ofInform ation Act,AHIshallhave the rightto requestcopiesof
such disclosed records.

7.       A D M ISSD ILITY O F STA TEM EN TS

     AH1understandsanystatementsmadeonitsbehalf(including,btztnotlimitedto,thisPlea
Aveementand its admission ofguilt)duting or in preparation for any guilty plea headng,
sentencinghearing,orotherhearing and any statem entsmade,in any setting,maybeused against
AI-IIby theUnited Statesin thisorany otherproceeding.AI'IIknowinglyw aivesany rightitm ay
haveunderthe Constitution,any statute,rule or othersource öf1aw to have such statem ents,or
evidencededved9om such statements,suppressedorexcluded 9om being admitted into evidence
in thisorany otherproceeding.If,and only if,theCourtrejectsthisPleaAgreement,and,asa
result,AI'I1withdrawsitsplea,AHIwillnptbebound by the waiverssetforth in tllissection of
the Plea Av eem ent.

8.       C O M PLET IO N O F PR O SEC UTIO N

         PursuanttoFed.R.Cdm.P.11(c)(1)(A),solongasAH1complieswitha11ofitsobligations
tmder this Plea Am eem ent, the United States apees,other than the charge in the attached
Inform ation,it shallnot further crim inally prosecute AHI for any additional federalcrim inal

PleaAgreement
UnitedStatesv.AnimalHealthInternational,Inc.               Authorl
                                                                 zedCor
                                                                      porat
                                                                          eOf/irer'sInitials. /
                                                                            -



                                               Page5 of9
Case 1:20-cr-00007-JPJ-PMS Document 13 Filed 02/14/20 Page 6 of 9 Pageid#: 26



charges or forfeiture action with respectto any offenses setforth in the Inform ation or Non-
ProsecutionAgreementwithPatterson(AttachedasAttachmentB).
         Nothing in thisPlea Agreem entaffects the adm inistrative,civil,cdm inal,or other tax
liability ofany entity orirfdividualand thisPlea Ap eem entdoesnotbind the Intem alRevenue
Service of the Departm entof Treasury,the Tax Division of the United States Departm entof
Justice,orany othergovem m entagency with respectto theresolution ofany tax issue.

9.       LIM ITA TIO N O F PL EA A G Q EEM EN T

       Ihis Plea Ap eementis lim ited to theUrlited StatesDepartm entofJustice and doesnot
bind any otherfederal,state,orlocalauthority.

10.      CO M PLIAN C E AN D R EM ED IAT,M EA SU R ES

       M lIap eesto com ply with theCom orateCom plianceProv am Ap eem entattachedhereto
asAttachm entC.

11.      CO O PEM TION

         AH1acknowledgesthatitsongoing and futurecooperation islmportantand amaterialfact
underlying theUnited States'decision to enterinto thisPleaAp eem ent.AHIam eesto continue
to cooperate fully and actively with the Urlited States regarding any m atter,including,butnot
limited to,mattersinvolving (a)currentand forperAHIpersormel,and (b)otherentitieswho
operate in the sam e com m ercialsepnentasAH1 and/orPatterson during theTerm ofthe Non-
Prosecution Am eem entwith Patterson,provided however that any cooperation in an ongoing
investigation orprosecution shallcontinueuntilsuch investigation orprosecution isconclùded.
        Nothing in tlzisPleaAp eementshallbeconstrued to requirePatterson orAHIto waive
any attom ey-clientprivilegeorwork-productprotection.

12.      REM EDIES FO R FA ILUR E TO CO M PLY W IT H A N Y PR O W SIO N O F TH IS
         PLEA A G REEM ENT

       A1IIunderstandsif:(1)AHIattemptsto withdraw itsplea(in the absence ofthe Court
refusing to acceptthisPleaAveement);(2)A1-llfailsto complywith any provision ofthisPlea
Areement;(3)AHI'sconvictionissetaside,foranyreason;and/or(4)AHIfailsto execute a11
required paperwork priorto theimposition ofjudpnent,the United Statesmay,atitselection,
pursue any ora11ofthefollowing remedies:(a)declare thisPleaApeementvoid;(b)file,by
indictm entorinform ation,any chargesw hich w ere fled and/orcould have been sled concem ing
themattershwolved in the instantinvestigation;(c)refuseto abideby any stipulations and/or
recommendationscontained in tllisPleaAveement;(d)notbebound by any obligation ofthe
United Statessetforth in thisPleaAgreem ent,including,butnotlimited to,thoseobligationsset
forthinthesection ofthisPleaAmeementtitledtGCOM PLETION OFPROSECUTION;''and (e)
takeanyotheraction providedforundertllisPleaAv eem entorby statute,regulation orcourtnzle.


PlecAgreement
UnitedStatesv.AnimalHealthInternational,Inc.              Authori
                                                                zedCor
                                                                     porat
                                                                         eOmcer'
                                                                               sInit
                                                                                   ials. /
                                               Page6of9
Case 1:20-cr-00007-JPJ-PMS Document 13 Filed 02/14/20 Page 7 of 9 Pageid#: 27



       The remedies setforth above are cumulative and notmutually exclusive.lfthe United
Statespursuesany ofitsperm issiblerem ediesassetforth in tllisPlea Agreem ent,AHIwillstill
bebound by itsobligationstm derthisPleaAp eem ent.AH1hereby waivesitsrightunderFed.R.
Cdm .P.7 to be proceeded againstby indictmentand consents to the sling of an inform ation
againstitconcerning anychargeslledpursuanttothissectionofthisPleaAm eem ent.AHIhereby
waivesany stam teoflim itationsargum entasto any such charges.

13.      EFFE CTIV E REPR ESEN TA TIO N

       AHIhas discussed the terms oftllis Plea Agreem ent and a11m atters pertaining to the
chargesagainstitwith itsattorneysandisfullysatisfedwithitsattom eysand itsattom eys'advice.
Atthistim e,AlIIhasno dissatisfaction orcom plaintwith itsattom eys'representation.AHIam ees
tom akeknowntotheCourtnolaterthan atthetimeofsentencing any dissatisfaction orcomplaint
AHIm ayhavewith itsattom eys'representation.

14. EFFECT OFAHI'SSIGNATURE
        AHI understands its Authorized Corporate Ofscer's signature on this Plea Av eement
constim te!a binding offerby itto enterinto this Plea Ar eem ent.A1-
                                                                   IIunderstandsthe United
Stateshasnotaccepted AHI'sofferuntilthe authodzed representative ofthe United Stateshas
sir ed tllisPleaAm eem ent.

15.      G EN ER AL UN D ER STA N DMNG S

       AHl tmderstands a presentence investigation will be conducted and sentencing
recomm endationsindependentoftheUSAO willbem adeby thepresentencepreparer.
       AHIunderstandstheUnited StatesandAHIretain theright,notwithstanding anyprovision
in thisPlea Am eem ent,to inform theprobation office and the Courtofa11facts,to addressthe
Courtwith respecttothenatureand seriousnessoftheoffenseand theoffender,torespond to any
questiohsraisedbytheCourt,to correctanyinaccuraciesorinadequaciesinthepresentencereport,
and torespondto any statem entsmadeto theCourt.
       AHIwillingly stipulatesthereisasufficientfactualbasisfoçtheCourttb accepttheplea.
       AHI understands tlzis Plea Agreem ent does not apply to any crim es or charges not
addressed in thisPleaAgreement.
       AHIhasnotbeen coerced,threatened,orprom ised anytlling otherthan theterm softhis
PleaAreement,describedabove,inexchangeforitspleaofguilty.Al'    l1understandsitsattomeys
willbe9eeto argueany mitigattng factorson itsbehalftotheextenttheyarenotinconsistentwith
the tenus oftlais Plea Av eem ent.AHI understands AI-1Iwillhave an opportunity to have a
representativeaddresstheCourtpriorto sentencebeing imposed.
       Thiswriting,theNorpprosecution ApeementwithPatterson(attachedasAttachmentB),
theCorporateComplianceProgram Ameement(attached asAttachm entC),andtheAgreedOrder
ofForfeimre(attachedasAttachmentD)arethecompleteandonlyapeementsbetweentheUnited
StatesandAlIIconcemingresolutionofthismatter.lnaddition,AH1hasnoobjectiontothesling
ofthe Inform ation.


PleaAgreement
UnitedStatesv.AnimalHealthInternationajInc.               Authorlzed CorporateOm cer'sInitlals:
                                              Page7 of9
Case 1:20-cr-00007-JPJ-PMS Document 13 Filed 02/14/20 Page 8 of 9 Pageid#: 28



      The ap eements and docum ents listed in tltis section setforth the entire understanding
between thepartiesand constitutethecomplete agreem entbetween theUnited StatesAttom ey for
the W estem DistrictofVirginia and AH1 and no other additionalterm s ora# eem ents shallbe
entered exceptandunlessthoseotherterm sorap eem entsarein wdting and sir ed bytheparties.
Theseav eem entssupersedea11priorunderstandings,prom ises,agreem ents,orconditions,ifany,
between theUnited Statesand AHI.A1IIconsentstopublicdisclosureofa11oftheap eem entsand
otherdocum entsreferenced in thissection.
       AHIhasconsulted with itsattom eysandfullyunderstandsitsdghts.AH1hasreadtllisPlea
Ar eementand carefully reviewed every partofitwith itsattom eys.AHIunderstandsthisP1ea              .

Av eementandAIIIvoluntadly ap eestoit.Being awareofa11ofthepossibleconsequencesofits
plea,A1IIhasindependently decided to enterthis plea ofits own free willand isaffirm ing that
ameementonthisdatebythesir atureofitsAuthorizedCorporateOfficertçEofficer''lbelow.
         TheOfficèr,by signing below,hereby certifesto thefollowing:
         (1)      'rheOfficerisfullyauthorizedto enterintothisPleaAveementon behalf
                   ofA H I;
         (2)      TheOfficerhasreadtheentirePleaApeementand documentsreferenced
                  herein and discussed them with Al-ll'sBoard ofDirectors;
         (3)      AHIunderstands a11the terms oftllisPlea Apeementand those terms
                   correctly reflecttheresultsofpleanegotiations;
         (4)      AlIIisfullysatisfedwithM 'Il'sattomeys'representationduringa11phases
                   ofthis case;
         (5)      AHIisgeelyandvoluntarilypleadingguiltyilltlliscase;
         (6)      AHIispleadingguiltyassetforthinthisPleaApeementbecauseitisguilty
                   ofthecrimeto which itisentering itsplea;and
         (7)      A1II understands it is waiving its right to appeal the judgment,and
               conviction in thiscase.
       AH1acknowledgesits acceptance oftllisPlea Agreem entby the sir ature ofitscounsel
and Oo cer.A cppy of a certiscation by AH1's Board ofDirectors authorizing the Ofscerto
execute thisPleaAgreem entand a11otherdocllm entsto resolvetllismatteron behalfofAI-IIis
attached asA ttachm entA .



 oate:2qp/.m/    /
                                        >,
                                        Authorized Corporate Ofscer
                                        M I1




PleaAgreement
UnitedStatesv.AnimalHealthInternational.Inc.                  Authorizedfbrp/rlêeofFcer'sfaf#l&..
                                                  Page 8of9
    Case 1:20-cr-00007-JPJ-PMS Document 13 Filed 02/14/20 Page 9 of 9 Pageid#: 29




            Counselhasfully explained to theBoard ofDirectorsofAH1thefactsand circum stances
.   ofthe case;a11rightswith respectto theoffense charged in the Inform ation;possible defensesto
    theoffensecharged intheInformation;a11dghtswithrespecttotheapplicability oftheSentencing
    Guidelines',andthe consequencesofentezing intotM sPleaAgreem entand entering a guiltyplea.
    CounselhasreviewedthisentirePleaAm eem entand docum entsreferenced herein with the client,
    through itsOfficer.AH1understandsthetermsand conditionsofthisPlea Agreem ent,and M -ll's
    decision to enterintothisPleaAp eem entisknowing andw luntary.Al-   ll'sexecutionofand entry
    into thePleaAv eem entisdonewith Cotms 'sconsent
    Date: 2(101c-o'
                  i.o                                        R
                                                                   .xt               .
                                                   Am y Conwap Hatcher,Esquire
                                                   KyleClark,Esquire
                                                   BakerBottsL.L.P.
                                                   CounselforAlII


    Date: T.-/b-D ogo
                                                   Randy R seyer
                                                   AssistantUzzited StatesAttom ey




    PleaAgreement
    UnitedStatesv.AnimalHealthfnfcrnt
                                    zfftpnctInc.                  AuthorizedCbrptlrlzeOm cer'sInitials:
                                                     Page9 of9
